             Case 21-30630 Document 167 Filed in TXSB on 03/30/21 Page 1 of 4




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION                                                           ENTERED
                                                                                                               03/30/2021
                                                           )
    In re:                                                 ) Chapter 11
                                                           )
    BELK, INC., et al., 1                                  ) Case No. 21-30630 (MI)
                                                           )
                     Reorganized Debtors.                  ) (Jointly Administered)
                                                           )

                           STIPULATION AND AGREED ORDER
                         BETWEEN THE REORGANIZED DEBTORS
                   AND THE PENSION BENEFIT GUARANTY CORPORATION

             This stipulation and agreed order (the “Stipulation and Agreed Order”) is made by and

among the above-captioned reorganized debtors (collectively, the “Reorganized Debtors” and

before the effective date of the Plan (as defined below), the “Debtors”) and the Pension Benefit

Guaranty Corporation (“PBGC,” and together with the Reorganized Debtors, the “Parties”).

             WHEREAS, on February 23, 2021 (the “Petition Date”), the Debtors filed voluntary

petitions under chapter 11 of title 11 of the United States Code in the United States Bankruptcy

Court for the Southern District of Texas (the “Court”);

             WHEREAS, on February 24, 2021, the Court confirmed the Joint Prepackaged Plan of

Reorganization of Belk, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy

Code (Technical Modifications) [Docket No. 10] (the “Plan”) 2 and entered the Order Approving

the Debtors’ Disclosure Statement for, and Confirming, the Debtors’ Joint Prepackaged




1
      A complete list of each of the Reorganized Debtors in these chapter 11 cases may be obtained on the website of
      the Reorganized Debtors’ claims and noticing agent at https://cases.primeclerk.com/belk. The location of the
      Reorganized Debtors’ service address is 2801 West Tyvola Road, Charlotte, North Carolina 28217.
2
      Capitalized terms used but not defined herein have the meanings ascribed to them in the Plan.
        Case 21-30630 Document 167 Filed in TXSB on 03/30/21 Page 2 of 4




Chapter 11 Plan [Docket No. 61] (the “Confirmation Order”) and the Due Process Preservation

Order [Docket No. 62] (the “Due Process Preservation Order”);

        WHEREAS, on February 24, 2021, the Debtors substantially consummated the Plan and

the effective date of the Plan (the “Effective Date”) occurred 3; and

        WHEREAS, Article IV.N. of the Plan provides that, pursuant to section 1129(a)(13) of

the Bankruptcy Code, from and after the Effective Date, all retiree benefits (as such term is defined

in section 1114 of the Bankruptcy Code), if any, shall continue to be paid in accordance with

applicable law.


        NOW, THEREFORE, IT IS STIPULATED, AGREED, AND UPON APPROVAL

BY THE COURT OF THIS STIPULATION, IT IS SO ORDERED AS FOLLOWS:

        1.       No provision of the Plan, the Confirmation Order, or section 1141 of the

Bankruptcy Code shall be construed to discharge, release, or relieve the Debtors, their successors,

including the Reorganized Debtors, or any other party from liabilities or obligations imposed under

the Employee Retirement Income Security Act of 1974, as amended, 29 U.S.C. §§ 1301-1461

(2018) (“ERISA”) or the Internal Revenue Code with respect to the Belk Pension Plan. The

Pension Benefit Guaranty Corporation and the Belk Pension Plan shall not be enjoined or

precluded from enforcing such liability arising under ERISA or the Internal Revenue Code with

respect to the Belk Pension Plan as a result of any provision of the Plan, the Confirmation Order,

or section 1141 of the Bankruptcy Code.

        2.       The Debtors or the Reorganized Debtors, as applicable, are authorized to take any




3
    See Notice of (I) Entry of Order Approving the Debtors’ Disclosure Statement For, and Confirming, the Debtors’
    Joint Prepackaged Chapter 11 Plan and (II) Occurrence of the Effective Date [Docket No. 66].

                                                        2
          Case 21-30630 Document 167 Filed in TXSB on 03/30/21 Page 3 of 4




and all actions necessary to effectuate the terms of this Stipulation and Agreed Order.


          3.   All of the recitals stated above are incorporated by reference as if fully set forth

herein.

          4.   The Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation, interpretation, and enforcement of this Stipulation and Agreed Order.

IT IS SO ORDERED.


Houston, Texas
Signed: March 30,17,
                  2021
Dated: ___________,
        October        2021
                     2018
                                                     MARVIN ISGUR
                                                       ____________________________________
                                                     UNITED STATES BANKRUPTCY JUDGE
                                                                     Marvin Isgur
                                                           United States Bankruptcy Judge




                                                 3
             Case 21-30630 Document 167 Filed in TXSB on 03/30/21 Page 4 of 4




   STIPULATED AND AGREED TO THIS 29TH DAY OF MARCH, 2021:

Houston, Texas
March 29, 2021

/s/ Kristhy M. Peguero
Kristhy M. Peguero (TX Bar No. 24102776)         Joshua A. Sussberg, P.C. (admitted pro hac vice)
Matthew D. Cavenaugh (TX Bar No. 24062656)       Steven N. Serajeddini, P.C. (admitted pro hac vice)
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                                                 Proposed Co-Counsel to the Reorganized Debtors



   - and -



/s/
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Pension Benefit Guaranty Corporation
